     Case
      Case3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                               Document589-45 Filed04/28/17
                                        304 Filed   06/12/17 Page
                                                              Page1 1ofof4 4



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17                                 UNITED STATES DISTRICT COURT
18                                NORTHERN DISTRICT OF CALIFORNIA
19                                       SAN FRANCISCO DIVISION
20   WAYMO LLC,                                              Case No.       3:17-cv-00939-WHA
21                          Plaintiff,                       SUPPLEMENTAL DECLARATION OF
                                                             ASHEEM LINAVAL IN SUPPORT OF
22          v.                                               DEFENDANTS’ SURREPLY TO
                                                             PLAINTIFF WAYMO LLC’S MOTION
23   UBER TECHNOLOGIES, INC.,                                FOR PRELIMINARY INJUNCTION
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
24                                                           Date:    May 3, 2017
                            Defendants.                      Time:    7:30 a.m.
25                                                           Ctrm:    8, 19th Floor
                                                             Judge:   The Honorable William Alsup
26
                                                             Trial Date: October 2, 2017
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     SUPPLEMENTAL LINAVAL DECL. ISO DEFENDANTS’ SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
     Case No. 3:17-cv-00939-WHA
     Case
      Case3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                               Document589-45 Filed04/28/17
                                        304 Filed   06/12/17 Page
                                                              Page2 2ofof4 4



 1          I, Asheem Linaval, declare as follows:

 2          1.      I am a hardware engineer at Uber Technologies, Inc. (“Uber”). My background is

 3   set forth in my April 6, 2017 declaration in support of Uber’s opposition to plaintiff’s motion for

 4   preliminary injunction. I make this declaration in support of Uber’s surreply to plaintiff’s motion

 5   for preliminary injunction. I make this declaration based on personal knowledge and, if called as

 6   a witness, I would testify to the facts listed below.

 7          2.      I understand that nine unique hash matched files and 3,250 file name matched files

 8   were located on Uber’s systems since my last declaration. I have reviewed the nine hash matched

 9   files and the list of 3,250 file name matches. None of these files are from Waymo. Below I

10   explain these files and why the hash or file name matches do not establish that these files came

11   from Waymo.

12          3.      Five of the nine hash matched files are ODB++ metadata. I can procure nearly

13   identical files from most any ODB++ board package. These files are 11200733.TXT;

14   11200747.TXT; 130143.TXT; 130145.TXT and attrlist. I further explained attrlist files in my

15   April 6, 2017 declaration.

16          4.      Three of the hash matched files are structure listings for very simple projects.

17   These files reference other design documents and do not contain any substantive information.

18   The first file, jdsu_rx.PrjPcbStructure, has a top level generically named “top.SchDoc” and a

19   subschematic generically named “pmic.SchDoc.” The second file,

20   PCB_Project_0BwLeHzZBkM1wdGF5NFhBSXUwTTQ.PrjPcbStructure, is a single-schematic

21   project with the generic schematic name “Sheet1.SchDoc.” The third file, receiver-1-3-

22   0.PrjPCBStructure, is also a single-schematic project with a generic schematic name

23   “receiver.SchDoc.” Because of the simplicity of these projects and the generic nature of the

24   schematic names, I am unsurprised by the hash matches.

25          5.      I am not familiar with the last hash matched file, which is named “tools,” but the

26   file path indicates that it came from a user guide for an Atmel microcontroller.

27          6.      Many of the filenames in the file name match list were explained in my April 6,

28   2017 declaration. For example, 304 of the matches are named “netlist,” which is explained in my

     SUPPLEMENTAL LINAVAL DECL. ISO DEFENDANTS’ SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
     Case No. 3:17-cv-00939-WHA                                                                            1
     Case
      Case3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                               Document589-45 Filed04/28/17
                                        304 Filed   06/12/17 Page
                                                              Page3 3ofof4 4



 1   earlier declaration. Over 800 of the matches are .SCHDOC, .PCBDOC, or .PCBLIB files using a

 2   standard file naming convention with a functional description of the file, which are explained in

 3   my earlier declaration. I explain some additional file name matches in the list I reviewed below.

 4          7.      Most of the additional file name matches (1279 of them) are files named “Status

 5   Report.txt.” When PCB outputs are generated using Altium, a Status Report file is usually

 6   generated. They only indicate that output files were generated, and contain no design

 7   information. It is unsurprising that there are file name matches.

 8          8.      Another category of matches is SolidWorks files. Ninety-four of the file name

 9   matches are files named “board.SLDPRT,” “base.SLDPRT,” “rotor.SLDPRT,” and

10   “pcb.SLDPRT.” Some of these are sample files that come with the SolidWorks software. Others

11   are generically named SolidWorks files for which file name matches are unsurprising; indeed the

12   names match those for the sample files..

13          9.      Another category of matches is other sample or example files. Thirty-eight of the

14   file name matches are .ASC files (e.g., 3683.ASC, 8620.ASC). These files are LTSpice examples

15   that come with the software. Thirteen of the file name matches are files named “sort.py.” This

16   file ships with Anaconda (a distribution of Python used for data science) and Sublime Text, a

17   popular text editor.

18          10.     Forty-five of the file name matches are files named “Notes.txt” and “PCB.txt.”

19   These are generic file names, and it is unsurprising that there are matches.

20          11.     Sixty-three of the file name matches are files named “PCB1.GBL” or

21   “PCB1.GTL.” These are default names for gerber files, and the matches are unsurprising.

22          12.     Seventy-four of the file name matches are files named “Job1.outjob” or

23   “Job2.outjob.” These are generic file names akin to “Document1,” and a file name match is

24   unsurprising. These files reference other files and do not contain any substantive data.

25          13.     Thirteen of the file name matches are files named “Assembly Drawings.PDF.”

26   These are generically named files, and a file name match is unsurprising.

27          14.     Fifteen of the file name matches are files named “J1.SLDASM.” J1 is a common

28   designator for a connector, and I am unsurprised that there are file name matches.

     SUPPLEMENTAL LINAVAL DECL. ISO DEFENDANTS’ SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
     Case No. 3:17-cv-00939-WHA                                                                          2
     Case
      Case3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                               Document589-45 Filed04/28/17
                                        304 Filed   06/12/17 Page
                                                              Page4 4ofof4 4



 1          I declare under the penalty of perjury under the laws of the United States of America that

 2   the foregoing is true and correct. Executed this 27th day of April, 2017, in San Francisco,

 3   California.

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 5                                                          Asheem Linaval
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     SUPPLEMENTAL LINAVAL DECL. ISO DEFENDANTS’ SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
     Case No. 3:17-cv-00939-WHA                                                                          3
